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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

STEVEN HOTZE, M.D., WENDELL                    )    Civil Action
CHAMPION, HON. STEVE TOTH, AND                 )    No. 4:20-cv-03709-ASH
SHARON HEMPHILL,                               )
                                               )
                     Plaintiffs,               )
       v.                                      )
                                               )
CHRIS HOLLINS, in his official capacity as     )
Harris County Clerk,                           )
                                               )
                                               )
                     Defendant.
                                               )




                  BRIEF OF ELECTION LAW PROFESSORS
     JOSEPH R. FISHKIN, STEPHEN I. VLADECK, AND D. THEODORE RAVE
               AS AMICI CURIAE IN SUPPORT OF DEFENDANT




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                                INTEREST OF AMICI CURIAE

       Amici curiae are law professors who teach at law schools in Texas and whose research

and teaching focus on United States constitutional law and federal and state election law. Amici

have a professional interest in the proper construction of the Elections Clause. They submit this

brief to assist the Court by explaining why plaintiffs’ construction of the Elections Clause is

incorrect, incompatible with principles of federalism, and would impair the States’ ability to

administer elections freely and fairly.

       Amici are Professor Joseph R. Fishkin, Marrs McLean Professor in Law, University of

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       No counsel for a party authored this brief in whole or in part and no person or entity,

other than amici curiae and their counsel, has contributed money that was intended to fund the

preparation or submission of this brief.




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                                 SUMMARY OF ARGUMENT

       The federal Constitution’s Elections Clause, U.S. Const., Art. I § 4, states: “The Times,

Places and Manner of holding Elections for Senators and Representatives, shall be prescribed in

each State by the Legislature thereof ….” What the Texas Legislature has “prescribed” for Texas

is a question of state law to be answered by state courts. The Texas Constitution mandates this.

Moreover, the Texas Legislature has prescribed in the Texas Election Code that state courts are

the proper venue for adjudicating any disputes about the Code’s meaning. Questions of remedy

in such disputes are also questions of state law.


       The issues present in this case have already been decided in state court. Plaintiffs now

seek to re-litigate the state law issues in federal court on the basis of a novel and unfounded

federal constitutional theory which would wrest control of Texas election law from the state

authorities charged by law with implementing and interpreting it. The plaintiffs’ novel theory is

simply incorrect. The Elections Clause does not grant federal courts the power to override a

State’s construction of its own law or to create a private constitutional right of action in favor of

individuals solely because they disagree with the State’s construction of its election laws.


       Plaintiffs contend that Chris Hollins, the Harris County Clerk, misinterpreted the Texas

Election Code and that, as a result, this Court must nullify hundreds of thousands of ballots

already cast. They are wrong as a matter of state law because the Texas Supreme Court rejected

the same arguments that plaintiffs raise here. Thus, to rule in favor of plaintiffs, this Court would

need to conclude that the meaning of Texas law is a question of federal law entrusted to this

Court. Neither logic nor law supports that conclusion.


       As support for their counterintuitive claim, plaintiffs rely heavily on a three-justice

concurrence in Bush v. Gore, 531 U.S. 98 (2000). This concurrence is not the law of the land,


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and even if it were, it would not affect the outcome of this case. To extend the concurrence’s

theory of the Constitution to this case’s circumstances would have severe adverse consequences

for this election and elections to follow. It would place federal courts in the position of

overseeing all interpretations of state election law, upending our system of federalism. State

courts are the final authority on questions of interpretation of state law. This court should not

entertain the plaintiffs’ efforts to make an end run around the decision-makers authorized under

state law—the Harris County Clerk, the Secretary of State, and the Texas Supreme Court—none

of whom agree with the plaintiffs’ interpretation of Texas election law.


                                           ARGUMENT

         The Meaning of Texas’s Election Statutes Is Not a Question of Federal Law

        Plaintiffs’ dispute with the Harris County Clerk about whether the phrases “any

structure” or “building” in the Texas Election Code encompass parking structures and semi-

permanent tent structures does not present a federal question. The U.S. Supreme Court has never

held that such a question of state law, standing alone, presents a federal question.


        Plaintiffs rely on the concurrence in Bush v. Gore, 531 U.S. at 111 (Rehnquist, J.,

concurring), but six justices declined to join that concurrence, which means that the concurrence

is not controlling law. Even if the concurrence were controlling, it would be inapplicable in this

case.


        A.     Chief Justice Rehnquist’s concurrence in Bush v. Gore was not adopted by a
               majority of the Court in that case and has not been adopted by the Supreme
               Court or Fifth Circuit, and would be applicable only in extraordinary
               circumstances

        In Bush v. Gore, the Supreme Court considered the Florida Supreme Court’s order

altering unambiguous election certification deadlines prescribed by the Florida Legislature and


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directing a recount of certain improperly marked ballots to be recounted even though jurisdiction

for election contests resided in state circuit courts. Id. at 100-103 (per curiam). The Bush v. Gore

majority held that the Florida standards for ballot recounts were so arbitrary and inconsistent

between counties so as to violate the federal Equal Protection Clause. Id. at 105. The majority

denied the decision’s precedential value, however, by stating that it’s reasoning was “limited to

the present circumstances.” Id. at 109.


       Three Justices filed a separate concurrence. In it, they argued—in addition to the Equal

Protection Clause theory that the majority had adopted—that that “[a] significant departure from

the legislative scheme for appointing Presidential electors presents a federal constitutional

question.” Id. at 112 (conc. of Rehnquist, J.). This theory was grounded in the language of

Article II Section 1 of the United States Constitution, which states that “[e]ach State shall

appoint” presidential electors “in such Manner as the Legislature thereof may direct.” The

concurring Justices argued that, in Florida, “the legislature ha[d] delegated the authority to run

the elections and to oversee election disputes to the Secretary of State, and to state circuit

courts,” and that the Florida Supreme Court’s actions were so far removed from the state

legislative scheme that it wholly changed it. Bush v. Gore, 531 U.S. at 114 (conc. of Rehnquist,

J.) (“Isolated sections of the code may well admit of more than one interpretation, but the general

coherence of the legislative scheme may not be altered by judicial interpretation so as to wholly

change the statutorily provided apportionment of responsibility among these various bodies.”).


       As precedent for abandoning the ordinary rule that “comity and respect for federalism

compel us to defer to the decisions of state courts on issues of state law,” the concurring justices

in Bush v. Gore cited two extraordinary cases in which the United States Supreme Court had

reviewed a state supreme court’s interpretation of state law. Id. at 114-15 (conc. of Rehnquist, J.)


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(citing Bouie v. City of Columbia, 378 U.S. 347 (1964); NAACP v. Alabama ex rel. Patterson,

357 U.S. 449 (1958)). In these cases, the State’s interpretation of its own law was such a novel

and extraordinary departure from a fair reading of the statute that it violated the plaintiff’s right

to due process. See id. at 114-15 (conc. of Rehnquist, J.).


       The Bush v. Gore majority did not adopt this novel theory of federal jurisdiction. Bush v.

Gore, 531 U.S. at 105 (per curiam). The Court has never subsequently adopted it. And recently,

the Supreme Court declined to use this rationale to overturn settled federalism principles.

Democratic Nat'l Comm. v. Wisconsin State Legislature, No. 20A66, 2020 WL 6275871, at *1

(U.S. Oct. 26, 2020) (Roberts, J., concurring in denial of application to vacate stay). The Fifth

Circuit has likewise not adopted this theory. The theory itself would only apply in extreme

circumstances—which are absent here.


       B.      The non-binding concurrence in Bush v. Gore is limited to cases in which a
               state court imposes new election rules in a way that undermines a statutory
               scheme and its interpretation is so egregious that it violates due process

       The Bush v. Gore concurrence was limited to the situation in which state courts interpret

state law in a way that (a) is so wrong that it has “no basis” in state law and “no reasonable

person” would interpret it that way, and (b) contravenes the express decision of the state official

“authorized by law to issue binding interpretations of the Election Code.” Bush v. Gore, 531 U.S.

at 119-20 (conc. of Rehnquist, J.). Even on its own terms, the non-binding concurrence does not

confer authority on federal courts to interpret state law as a general matter, but only in

extraordinary cases where a state court’s or state official’s interpretation is so wrong and so

unexpected that it violates due process.




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       In determining whether a state court’s or state official’s interpretation of state law is so

wrong and so disruptive of settled expectations that it violates due process rights, the Court

should consider how long the State has made its interpretation available to the public. In this

case, for example, amici understand that the Secretary of State approved Harris County’s

interpretation of state law months in advance. If that understanding is correct, the Harris County

Clerk’s implementation of that interpretation cannot come as a surprise, and any person who

disputed this implementation had months to pursue its dispute in the proper forum, a state court.


       This Court should also consider whether the state court or state official has any discretion

under state law. Here, for example, the Legislature provided that “[t]he early voting clerk shall

conduct the early voting in each election” (Tex. Elec. Code § 83.001(a)) and that “[a] polling

place established under this section may be located, subject to Subsection (d), at any place in the

territory served by the early voting clerk and may be located in any stationary structure.” (id. at

§ 85.062(b)). These provisions necessarily imbue the local early voting clerk with the discretion

to find locations and determine what constitutes “any structure” subject to some reasonable

limitation on the reading of the phrase.


       Finally, this Court should consider whether, as in Bush v. Gore, a state court or state

official was creating new rules after votes had already been cast. In this case, the Secretary of

State and Harris County Clerk did not change the rules after votes had been cast. Rather, they

announced their interpretation months in advance and followed through on that interpretation. It

is plaintiffs, not the State, who seek to deprive voters of due process and equal protection by

invalidating their votes after they were cast, indisputably in reliance on the State’s stated

interpretation and approved voting procedures. Harris County and 127,000 Harris County voters

have acted reasonably in reliance on the Secretary of State’s agreement that the phrase “any


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structure” in the Election Code includes drive-thru structures, and on the Texas Supreme Court

subsequently allowing this interpretation to proceed. Far from having no basis in state law, it is

entirely reasonable to read the phrase “any structure” to mean any structure, including parking

garages and reinforced, semi-permanent tent structures. And, unlike in Bush v. Gore, this case

does not present an instance of a court creating new rules to govern the election after votes had

been cast. The plaintiffs challenged Harris County’s actions in state court and lost. The Texas

Supreme Court and the Texas Secretary of State have affirmed that Harris County’s actions fall

within the discretion that the Legislature afforded to the County.


       Even if the plaintiffs were right about their interpretation of “any structure,” and even if

positions of all the relevant actors had been reversed in the way that would have been most

favorable to the plaintiffs, this case would not add up to “a significant departure” from the

overall legislative scheme concerning the election. That is, suppose that the Secretary of State

had opposed drive-thru voting and that a state court, misinterpreting state law, had imposed

drive-thru voting rather than an election official having done so in furtherance of his or her

obligation to implement state law. Even then, permitting drive-thru voting would not undercut

“the general coherence of the legislative scheme” of elections.


       Indeed, other portions of the Election Code allow voters to vote from their cars. The

long-existing state practice of curbside voting in no way contemplates, much less requires, any

application—sworn or otherwise—from a voter seeking to use it. No statute gives election

workers the authority to question a voter’s verbal request for curbside voting. So, even if Harris

County, the Texas Secretary of State, and the Texas Supreme Court are wrong in their

interpretations of the phrase “any structure” or “building” in the Texas Election Code, the




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resulting error would not be so egregious as to undermine an entire statutory scheme and deprive

any person of due process.


       The correct procedure to challenge the Secretary of State and Harris County’s

interpretation of the Texas Election Code was to use the method the Legislature specified in the

Texas Election Code: to bring a claim in state court, see Tex. Elec. Code § 273.061 (giving

mandamus jurisdiction to the Texas Supreme Court over actions against election officials). The

system is working exactly as the Legislature designed it. And, the state authorities the

Legislature has charged with interpreting state law have agreed with Harris County and the

Secretary of State. This leaves no room for the claim that state courts have so departed from state

law as to “wholly change” and destroy “the general coherence of the legislative scheme.” Bush v.

Gore, 531 U.S. at 114 (Rehnquist, J., conc.).


       C.      Plaintiffs’ theory is unworkable, would violate federalism principles, and
               would undermine the State’s practical and legal authority to run elections

       Extending the Bush v. Gore concurrence to overturn the State’s interpretation of its own

law in the present circumstances would have disastrous practical consequences and would

undermine core principles of federalism that the law has recognized for centuries.


       A baseless theory of the Elections and Electors Clauses wholly fails to appreciate the

nature of state government, and in particular, the role of state legislatures in the state

constitutional scheme. State legislatures enact the laws regulating the conduct of federal

elections. But state legislatures themselves are creatures of a state constitutional scheme. See,

e.g. Texas Const. art. III. They exist only as a component of the state’s own constitutionally

created structure. Indeed, the Texas Constitution is what imbues the Legislature with its authority

to provide for a popular voter for presidential electors. Tex. Const. art. VI, § 2(a). And the


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Supreme Court has recognized that the Elections Clause does not change the fact that state

legislatures still exist only as part of an overall state constitutional structure. See, e.g., Arizona

State Legislature v. Arizona Indep. Redistricting Comm'n, 576 U.S. 787, 817 (2015) (“Nothing in

[the Elections Clause] instructs, nor has this Court ever held, that a state legislature may

prescribe regulations on the time, place, and manner of holding federal elections in defiance of

provisions of the State's constitution.”); see also Smiley v. Holm, 285 U.S. 355, 372-73 (1932)

(holding that the Elections clause does not exempt state legislature’s regulation of federal

elections from “the veto power of the Governor as in other cases of the exercise of lawmaking

power).


        In Texas, the state legislature passes laws with the participation of the Governor, who has

a veto power, Tex. Const. art. IV, § 14. The election laws the Texas legislature passes are not

self-executing, so the legislature has statutorily empowered a variety of officials, including the

Secretary of State and local election authorities, to carry out the statutory scheme. See, e.g., Tex.

Elec. Code § 32.075 (“a presiding [election] judge has the power of a district judge to enforce

order and preserve the peace, including the power to issue an arrest warrant.”). Implementing

statutes necessarily involves reading the statutory language and using sound discretion as

appropriate.


        It is not possible for the Texas Legislature, which meets only once every other year, to

create a statutory scheme detailed enough that other state and local officials would not need to

exercise discretion when implementing its provisions. Adopting plaintiffs’ theory, however,

would eliminate the Legislature’s ability to delegate any discretion to designated state officials,

like the Harris County Clerk, over how to implement state election laws. If a federal judge

disagreed with the way the official used that discretion, under plaintiffs’ unfounded theory, this


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would now present a federal question on which federal courts could substitute their judgment for

that of the legislatively-appointed official. It would be perverse to hold that in order to respect

the statutory structure created by a state legislature, a federal court may substitute its judgment in

place of the very officials to whom the state legislature delegated its authority.


       The state judiciary is an essential part of the state constitutional structure as well. See

Tex. Const. art. V § 3 (“The Supreme Court shall exercise the judicial power of the state except

as otherwise provided in this Constitution. Its jurisdiction shall be co-extensive with the limits of

the State and its determinations shall be final except in criminal law matters.”). Multiple Texas

courts have declined to adopt Plaintiffs’ interpretation of the Texas Election Code. See Dkt. 15-3

(Denial of Mandamus, In re Hotze, No. 20-0863 (Tex. Nov. 1, 2020); Denial of Mandamus, In re

Hotze, No. 20-0819 (Tex. Oct. 22, 2020); Denial of Mandamus, In re Pichardo, No. 14-20-

00697-CV (Tex. App.--Houston [1st Dist] Oct. 14, 2020). The Texas Legislature has expressly

provided in the Election Code that in case of disputes about such interpretations, parties have

recourse to state court, which then take responsibility for interpreting the legislation. Tex. Elec.

Code §§ 273.061, 273.081 (allowing for mandamus and injunctive relief respectively in regards

to violations of the Election Code).


       Thus, not only does the Texas judiciary have independent constitutional significance, but

the Texas Legislature has expressly defined the judiciary’s role in the functioning of state

elections. Thus, the state courts are a part of the legislative and state constitutional scheme for

running an election, including elections for federal offices. It would undermine this scheme for a

federal court to step in and replace a state court’s judgment on state law with its own

interpretation—especially where, as here, plaintiffs are simply attempting an end-run around the

state courts in which they have decisively lost.


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       In short, no court has ever found that a provision of the United States Constitution

imposes a structural limitation on state constitutions with regard to which entity has primacy

when it comes to the separation of powers within the state constitutional structure itself or on the

legislature’s ability to determine what entities have jurisdiction to decide certain disputes.


       Not only would plaintiffs’ arguments upend the structure of state government, it would

have untenable consequences for the federal court system itself. Federal courts would become

courts of original jurisdiction for any dispute over state election laws in any even-year election

because there are federal races on the ballot. This would deprive state courts of any meaningful

role in election law cases, as their interpretations would automatically be subject to de facto

appeal in a federal district court. Not only would this be practically unworkable, but it would

result in a clear violation of the Rooker-Feldman doctrine which recognizes that federal district

courts cannot act as courts of appeal for state court decisions. Exxon Mobil Corp. v. Saudi Basic

Undus. Corp., 544 U.S. 280, 284 (2005).


                                          CONCLUSION

       The theory espoused by three concurring justices in Bush v. Gore has never been

accepted. Accepting it now and applying it in this instant case would not only expand the theory

beyond its own limitations, but it would cause irreparable damage to states. Such an expansion

would eviscerate state constitutional structures and would upend the balance between state and

federal courts. The framers, in respecting federalism by giving states the authority to regulate

federal elections as well as their own, could not have intended the absurd consequence that

federal courts would oversee state constitutional structures and be the final authority on

interpreting state election laws.




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   Dated: November 2, 2020


                                        Respectfully submitted,


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                                CERTIFICATE OF SERVICE


       I hereby certify that the foregoing was electronically filed using the Court’s CM/ECF

system. I certify that all participants are CM/ECF users and that service will be accomplished via

CM/ECF system.


                                                    /s/ Sarah M. Cummings
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                                                    Counsel for Amici Curiae
